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                     ORAL ARGUMENT MARCH 24, 2025
                        Case Nos. 25-5067 & 25-5068

           United States Court of Appeals
          For the District of Columbia Circuit
                               J.G.G., ET AL.,
                           PLAINTIFFS-APPELLEES,
                                     V.
                         DONALD J. TRUMP, ET AL.,
                         DEFENDANTS-APPELLANTS.

                On Appeal from the United States District Court
                          for the District of Columbia
                               No. 1:25-cv-766

             MOTION OF STATE DEMOCRACY DEFENDERS
            FUND AND FORMER GOVERNMENT OFFICIALS
            FOR LEAVE TO PARTICIPATE AS AMICI CURIAE


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MOTION OF STATE DEMOCRACY DEFENDERS FUND AND FORMER
   GOVERNMENT OFFICIALS FOR LEAVE TO PARTICIPATE
                   AS AMICI CURIAE

      Pursuant to Federal Rule of Appellate Procedure 29(a)(3) and Circuit

Rule 29(b), State Democracy Defenders Fund (“SDDF”) and 20 former

government officials (collectively, “Prospective Amici”) respectfully submit

this motion for leave to participate as amici curiae in support of Plaintiffs’

Opposition to Defendants’ Motion to Stay Pending Appeal. Amici curiae are

conservative or independent former government officials, including those who were

elected as Republicans or served in Republican administrations.

      The former government officials are:

      • Donald Ayer, Deputy Attorney General, 1989-1990; Principal Deputy
        Solicitor General, 1986-1988.

      • Arne Carlson, Governor of Minnesota, 1991-1999.

      • Ty Cobb, Special Counsel to President Trump, 2017-2018.

      • Barbara Comstock, Representative of the 10th Congressional District of
        Virginia, 2015-2019.

      • George Conway, Board President for the Society for the Rule of Law.

      • Eric Edelman, Principal Deputy National Security Advisor to the Vice
        President, 2001- 2003; Under Secretary of Defense for Policy, 2005-2009

      • John Farmer, New Jersey Attorney General, 1999-2002; Assistant U.S.
        Attorney for the District of New Jersey, 1990-1994.




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     • Jim Greenwood, Representative of the 8th Congressional District of
       Pennsylvania, 1993-2005

     • Michael Hayden, Director of the Central Intelligence Agency, 2006-
       2009; Director of the National Security Agency, 1999-2005; General,
       United States Air Force.

     • Bob Inglis, Representative of the 4th Congressional District of South
       Carolina, 1993-1999 and 2005-2011.

     • William Kristol, Chief of Staff to Vice President Dan Quayle, 1989-
       1993.

     • Philip Lacovara, Counsel to the Special Prosecutor, Watergate Special
       Prosecutor’s Office, 1973-1974.

     • John McKay, U.S. Attorney for the Western District of Washington,
       2001-2007.

     • Tom Petri, Representative of the 6th Congressional District of
       Wisconsin, 1979-2015.

     • Trevor Potter, Chairman of the Federal Election Commission, 1994;
       Commissioner of the Federal Election Commission, 1991-1995.

     • Paul Rosenzweig, Deputy Assistant Secretary for Policy, Department of
       Homeland Security 2005-2009.

     • Nicolas Rostow, Special Assistant to the President for National Security
       Affairs and Legal Adviser to the National Security Council, 1987-1993;
       Special Assistant to the Legal Adviser, U.S. Department of State, 1985-
       1987; Senior Research Scholar at Yale Law School.

     • Robert Shanks, Deputy Assistant Attorney General, Office of Legal
       Counsel, 1981-1984.

     • Peter Smith, Representative-at-Large of Vermont, 1989-1991.

     • William Joseph Walsh, Representative of the 8th Congressional District
       of Illinois 2011-2013.



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     • Christine Todd Whitman, Governor of New Jersey, 1994-2001;
       Administrator of the Environmental Protection Agency, 2001-2003.


     1. Prospective Amici meet all of the Rule 29 criteria for participation. Rule

        29 provides that (1) an amicus must have a sufficient “interest” in the case,

        and (2) amicus’s brief must be “desirable” and discuss matters “relevant

        to the disposition of the case.” Fed. R. App. P. 29(a)(3)(A), (B); see

        Neonatology Assocs., P.A. v. Comm’r of Internal Revenue, 293 F.3d 128,

        129 (3d Cir. 2002) (Alito, J.); United States v. Michigan, 940 F.2d 143,

        165 (6th Cir. 1991) (reasoning that an amicus brief need only be “useful

        or otherwise necessary to the administration of justice”). To the degree

        there is any doubt, “it is preferable to err on the side of granting leave” to

        file. Neonatology, 293 F.3d at 133. If an amicus brief is unhelpful, the

        Court can disregard it “without much trouble.” Id. “On the other hand, if

        a good brief is rejected, the merits panel will be deprived of a resource

        that might have been of assistance.” Id.

     2. Prospective Amici have a substantial interest in this case. SDDF is a

        nonpartisan, nonprofit organization committed to upholding the rule of

        law and defending the Constitution with a bipartisan board. The other

        amici curiae are, as noted above, conservative or independent former



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        government officials, including those who were elected as Republicans

        or served in Republican administrations.

     3. Collectively, they have spent decades in public service in the federal

        government and state government. They share a commitment to limited

        government, the rule of law, and protecting American citizens and

        residents from government overreach, particularly when that overreach

        threatens our freedoms and liberty.

     4. Prospective Amici offer a broad perspective on the importance of the rule

        of law and judicial review to our constitutional order, making it desirable

        for the Court to consider Prospective Amici’s brief.

     5. Prospective Amici’s brief will aid the Court’s consideration of this case.

        The brief explains how the Administration’s abuse of the Alien Enemies

        Act of 1798, 50 U.S.C. § 21, and its attempt to evade judicial review

        contravene the public interest and warrant denying the requested stay of

        the Temporary Restraining Order issued below.

     6. This motion is timely filed. Circuit Rule 29(b) encourages Prospective

        Amici to file a motion for leave to participate “as promptly as practicable

        after the case is docketed in this court.” Prospective Amici contacted



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         both parties to obtain consent for this brief on March 21, 2025. The

         parties take no position on the filing.


      For the foregoing reasons, Prospective Amici request that the Court grant their

motion for leave to participate as amici curiae.




Date: March 22, 2025                   Respectfully Submitted,



                                       _____________________________
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                                       Counsel for Amici


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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rules

26.1 and 29(b), undersigned counsel certifies:

      Amicus curiae State Democracy Defenders Fund has no parent company, and

no publicly held company has a 10% or greater ownership interest in it.




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), this motion complies with the type-volume

limit of Fed. R. App. P. 27(d)(2)(A) because it contains 894 words, excluding the

parts exempted by Fed. R. App. P. 32(f) and Cir. R. 32(e)(1). I further certify that

this motion complies with the typeface requirements of Fed. R. App. P. 32(a)(5) and

the type style requirements of Fed. R. App. P. 32(a)(6) because the motion was

prepared in 14-point Times New Roman font using Microsoft Word.




                                      ___________________________
                                      Norman L. Eisen




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                         CERTIFICATE OF SERVICE

      I hereby certify, pursuant to Fed. R. App. P. 25(d) and Cir. R. 25, that on

March 21, 2025, the foregoing motion was electronically filed with the Clerk of the

Court using the CM/ECF system, which will send a notification to the attorneys of

record in this matter who are registered with the Court’s CM/ECF system.




                                      _____________________________
                                      Norman L. Eisen




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